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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1021V
                                    Filed: February 24, 2016
                                           Unpublished

****************************
CHRISTINA L. MURRAY,                   *
                                       *
                   Petitioner,         *       Damages Decision Based on Proffer;
                                       *       Influenza (“flu”) Vaccine; Shoulder Injury
                                       *       Related to Vaccine Administration;
SECRETARY OF HEALTH                    *       (“SIRVA”) Special Processing Unit
AND HUMAN SERVICES,                    *       (“SPU”)
                                       *
                   Respondent.         *
                                       *
****************************
Stephen Joseph Mathieu, Stephen J. Mathieu Attorney, Beaverton, OR, for petitioner.
Justine Elizabeth Walters, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES 1

Dorsey, Chief Special Master:

      On September 14, 2015, Christina L. Murray (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq., 2 (the “Vaccine Act” or “Program”). Petitioner alleged that she
developed a rotator cuff tear and other shoulder injuries as a result of receiving a
seasonal influenza (“flu”) vaccine on September 19, 2013. The case was assigned to
the Special Processing Unit (“SPU”) of the Office of Special Masters.

        On January 22, 2016, the undersigned issued a ruling on entitlement finding
petitioner entitled to compensation for shoulder injury related to vaccine administration
(“SIRVA”). On February 24, 2016, respondent filed a proffer on award of compensation
(“Proffer”) indicating petitioner should be awarded $125,000.00. Proffer at 2. In the
Proffer, respondent represented that petitioner agrees with the proffered award.

1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012)(Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Based on the record as a whole, the undersigned finds that petitioner is entitled
to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $125,000.00 in the form of a check payable to
petitioner, Christina L. Murray. This amount represents compensation for all
damages that would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

                                                      2
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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                               OFFICE OF SPECIAL MASTERS

                                              )
CHRISTINA L. MURRAY,                          )
                                              )
       Petitioner,                            )
                                              )       No. 15-1021V
       v.                                     )       Chief Special Master Dorsey
                                              )       SPU
SECRETARY OF HEALTH AND                       )       ECF
HUMAN SERVICES,                               )
                                              )
       Respondent.                            )
                                              )

              RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On September 14, 2015, petitioner, Christina L. Murray, filed a petition for compensation

under the National Childhood Vaccine Injury Act, 42 U.S.C. §§ 300aa-1 to -34 (“Vaccine Act”),

alleging that she developed a rotator cuff tear and other shoulder injuries as a result of receiving

a seasonal influenza (“flu”) vaccine on September 19, 2013. On January 20, 2016, respondent

filed her Rule 4(c) Report stating that petitioner’s shoulder injury is consistent with a shoulder

injury related to vaccine administration (“SIRVA”) and conceding that her SIRVA is

compensable under the Vaccine Act. Accordingly, on January 22, 2016, Chief Special Master

Dorsey issued a Ruling on Entitlement finding that petitioner is entitled to compensation for

SIRVA. For the purposes of this proffer, the term “vaccine-related” is as described in

Respondent’s Rule 4(c) Report filed on January 20, 2016.
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I.     Items of Compensation

       Based upon the evidence of record, respondent proffers that petitioner should be awarded

$125,000.00, which represents all elements of compensation to which petitioner is entitled under

42 U.S.C. § 300aa-15(a). 1 Petitioner agrees.

II.    Form of the Award

       The parties recommend that the compensation provided to petitioner should be made

through a lump sum payment of $125,000.00 in the form of a check payable to petitioner.

Petitioner agrees.

                                                Respectfully submitted,

                                                BENJAMIN C. MIZER
                                                Principal Deputy Assistant Attorney General

                                                RUPA BHATTACHARYYA
                                                Director
                                                Torts Branch, Civil Division

                                                VINCENT J. MATANOSKI
                                                Deputy Director
                                                Torts Branch, Civil Division

                                                MICHAEL P. MILMOE
                                                Senior Trial Counsel
                                                Torts Branch, Civil Division

                                                 s/ Justine Walters
                                                JUSTINE WALTERS
                                                Trial Attorney
                                                Torts Branch, Civil Division
                                                U.S. Department of Justice
                                                P.O. Box 146, Benjamin Franklin Station
                                                Washington, D.C. 20044-0146
                                                Tel.: (202) 307-6393

DATE: February 23, 2016
1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future medical
expenses, future lost earnings, and future pain and suffering.

                                                   2
